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UNITED STATES DISTRICT COUR'I`
FOR 'I`HE DISTRICT OF KANSAS

CURTIS LICHT,
Plaintiff,

VS.

LARRY ENKELMANN, LLC, et al.,
Defendants.

Case N¢).: 12-2764~CM~DJ`W

 

 

STIPULATION ANI) §PROPOSED] OR])ER ()F DISMISSAL WITH PREJUDICE
BETWEEN PLAINTIFF AND DEFENI)ANTS

Plainti§f, CURTIS LICHT, by counsel, and Defendant, LARRY ENKELMANN,

LLC by counsel, hereby Stipulate that the above captioned action against LARRY

ENKELl\/IANN, LLC; and DOES 1 to 10, inclusive, Should be dismissed, With prejudice,

With each party to bear its own costs and at*£omeys' fees.

 

 

DATED: March 05, 2013
RESPECTFULLY SUBMITTED,

BV: /s/ Mark D. Mo}ner

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